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Exhibit G
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Exhibit 6
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I

‘AJOIUS TOY) Ul doUDIOJoI Aq poyesodsooul div yUsLUNIOp 718 JOLId B JO 1X9} Po}Id dy} UI PooUDdIJOJOI syUdTUNIOG
‘eyd oy} OUT doUdJOJOI Aq poyesJodiooul si jUSWNSOp dy} JO 1x9} SuIpuOdso1IOD oy) “JUOWUNSOP dy} WoI sINsY wv SoTyQUOpPI YeYS
OY} SIOYM “OSIMOYIT “WYO dy} OJUT SOUdIOJOI Aq poyesOdIOOUT SI DINIJ JY} ‘OINSI B SIOUDIOJOI JUOWINIOP B JO 1X9} POTD OY} SIOYM |

 

sjUd}eg poylossy oy} 0} Je 101d osye

IB ZUTT YIM UONPUIGUIOS UI UO Pol[o1 S9OUdIOJOI JOYIO SY “1 /8Z-L087Z9000 ANO-d ‘P8L7-€0L79000 ANO-A ‘suoed powossy oy)
0} We JoLd si zu] ‘9NS*E26/19 “ON UONRolddy yuoyeg [eUOISIAOIg ‘S‘¢ Ayoud oy} Jo ep SUIT pI OT ‘T [dy oy} uo poseg

‘POIOAODSIP 9q UOTBULIOJUT

[euoNIppe pynoys uononpoid surAuedwosoe Aue pue suonuaquos AjIpl[eAu] popuswry osoy} yUsWUe;ddns Jo ‘Ayrpow ‘puowe

0} LINO JO SABI] YOOS 0} IYSLI OY} OAIOSOI SJURPpUdJod, ‘snyeredde ye JOLId Jo sINsoydsIp 10 ‘UONe LOU ‘ayes 10} AOJJO ‘ayes ‘asn o1qnd
OY} JO SOOURISLUNDIIO pur s[IeJOp dy} SuIpNoUl ‘ye JOLId oY} deSISOAUI 0} SUINUTWUOD ore S}JURPUdJOG pue “suUIOSUO SI AIOAODSIGG

“MOOG
polnuopt s}disoxo Jo ‘suorejouur ‘sojyoyd oy} UO AjUO Ue) JOYyIeA ‘AJOITUD ALY] UI SJUSLUNIOP poye]o1 AUB PUL SODUdIOJOI Le roud osoy}
UO A[O1 0} PUDIUT sJUBpUdJoq ‘Wwe JOLId JOYIO puR ZUDT SqLIOSapP 0} MOTO UO PdI]o1 dv S]JUSLUNIOp JO s}dus9xo JO ‘suOTR}OUUR ‘so}oYyd
yey} JUd]X9 OY] OL “Ue JOU J9Yy}O puv ZUdT JO MOIA UI SNOTAGO UdEq dARY PJNOM sjudjed C[6, PUR OES, OY) JO SUIIL]D OY] UOTONIWSUOD
WIP]D $.JINOD oY) JOpuy) ‘SWUIe]D povossy oy} OBULIJUI 10 Ag PodA0d de sjonpold posnooe oy} Jey) s}JURpUdJoq] Aq UOISsIWUpe UP 10U
aie Ady) ‘SUOTUDIUOT JUOWOSULIUY .SJJNUIe]g UI sjONnpolg posnooy 0} UOT}R}OIdIOWUI LUTE] Jey] Jo UOTeoT[dde .sjjnure]g JoO/pue swuteyo
poylosse oy] JO uOTRJOIdIg UI (, YSOYYSO,, 10 ,SUdIq,, JO , SJJNUIe],, AJOATIO][OS) $s UONPIOdIOD YsoyYsO pur sou] “SuNjovJnuepy
III g JJNUIL] g JOO[oI suoTUd UO, AjIpIPRAUT popusuTY dsoy] yUd}X9 Oy} OL “(quoted C16, OU),,) ST6‘PI8°6 ‘ON ded ‘S'N
pur (,.juojed g¢¢, OU},,) 9ES*L6S‘6 ‘ON WoIed “Sf JO SWIL[D poylossy oy} SNOrAgo ssopuoL “(,,URLLLINg,,) “]B 19 URLLING 01 9€h1010/6007
‘ON UoHKoT|qng uoHRoTddy juoed *$'/f pur *(,.J] UOsIopuy,,) ‘Je 19 UOSIOPUY OF 8ST 7L10/6007 ON UOneol|qng uoNeorddy joe
‘S‘f) ‘ojdwiexo Joy “surpnypout ‘ye 101d JoyjO pure (,.zUd'T,,) [eB 19 “If ‘ZUNT 01 SEE‘ 9° ‘ON WIR ‘Sf JO UONeUIqUIOS oY

 

DUYV WOM d WAHLO GNV ZNAT - LUVHO WIVTO ALIGITVANI

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Cc

 

0} poydnoo si yey} pus jeurxoid ev Suravy Aj]quiosse Joppe] dy) ‘SUOT}IONS JOppe] d[qIsUa}xO
jo Aytyernyd ev Surpnjour A[quiosse Joppe] B sopnypoul zuo'T Jo snjeredde ony oy,

B SUIPNOUl
A[quuasse Joppry &

B SUIPNjoUl
A]quuosse Joppe] eB

 

"LT-$:9 :Z pub [ ‘S8Iy ye ZUNT “Sa Bag, “SISSBYO,, JO UOTJONSUOD SJANOD

 

 

oy} pur ,.pojdnos,, Jo uoyonysuos uodn posise ,sosed oy) 0) yUeNsind puke suonusUu0D ‘sisseyo ‘sIsseyo
JUSWOSULIU] SJJNUIL] Ul UMOYS SB JUDLUD]S STY} JO UONRIOIGIOUI ,SJJUIE] oy} 0} poydnos 94} 0} pojdnos
UO poseg ‘sISSBYD 94} 0} poydnos yur} JoyeM B SOpNyjoUl ZuUN’] Jo snyeiedde ony oy, yur} 10]BM & yur} 107BM &B
‘L1-S:9 {Z pue | ‘SBly ye zud] “sa “aag ,“SIsseyo,, JO UOTONIsSUOS
$,WNOD oy) pur ,poydnos,, Jo uoNonsuod uodn posse sored oy) 0} JURNsInd
pure suonusuo, JUOWOSULYU] ,SJJNUTe]g Ul UMOYS se JUOLUD]S sty} JO UONRIOIIO}UI ‘sIsseyo oy} ‘SISSBYD OY}
SJJNure]g uo poseq ‘sisseyo oy} 0} poydnoo duind ev sapnyjour zus’'T jo snyeredde ony oy, | 0} poydnoo dundee} 0} poydnoo duind v
“sosoYy O11] puv SIOPpe] puNols ‘osoy -9SOY

POY 0} Boe dSevIOJS Yon oJ B OSN 0} [ROTdA} ST JI Jey} pURISIOpUN Ppynom UONUSAUI
posoyye oy) JO OW) OY} 7B JIB OY} UT [[FYS Areurpso Jo uosiod vB “IDAODIOW ‘OE-STZ!L “Ep:9
“C126 ‘OZ ‘LI ‘pl ‘8-b ‘€ ‘T ‘SBI 1B ZUe'T “Sa ‘vag .SISsBYd,, JO UOTONsuOD s y.N0D
oy} pur ,.pojdnos,, Jo uoyonysuos uodn posise ,sosed oy) 0) yUeNsind puke suonusUu0D
JUSUMISULIUT ,SJJNUIL]g Ul UMOYS sv JUOWII]O sTy] JO UOTWWIOIdIOWUT -SJJNUILT

UO pose ‘dSOY OI} B PUL JOPPe] PUNOIS B SAIDNOI 0} PIINTIJUOS vOIe OSLIO}S B

OI] B puv JOppry]
punols B dAI9N901I
0} pounslyuod

BOIB ISRIO]S B
SUIARY pue SIsseyd
dy} 0} poydnos

oly B puv JOppr]
punols B OAINN01
0} poinsijyuos

BIB ISVIOS B
SUIARY PUP SIsseYyd
oy) 07 poydnos

 

 

 

 

SUIALY PUB SISSeYd dy} 0} pojdnos Ajquuasse Apog v sopnyoul zua’] Jo snesedde os oy Ajquuosse Apog & Ay]quiosse Apog &
‘09-ST$ “OT “LI ‘VI ‘8-b ‘€ ‘[ ‘SSIq Ie Zug] “'8'a ‘aay “suUOTIUDN]UOD JUOUISULUT
_SJJMUIL] Ul UMOYS SB JUSWIIIS STU] JO UOTFIOIGIOWUI ,SJJIUIe]g UO poseq pue

LINO 94} Aq Pon.SUOd SBM LID] SIY} SB SISSBYD B SOpNyoul zu] Jo snyeredde ony oy], ‘SISSBYO B ‘SISsByo B
‘sIoppe] punois
pue “Joppe] [elie ue ‘oie oSesojs osoy B ‘yUR] Jovem vB ‘duund ony Be SuIpNyout ‘juinb ev
JO somnyeay 94} [Je sopraold ye JoLId JOYIO YILM UOTPUIGIUOD UI 10 SUOTR ‘zZUdT “SUT}TWUT]
Oq 0} POUTLUJOJOp SI o]quuvod oy} JUOIXO OY. OL “((IS6T WdOO) TSI “OST PTA L8I
‘aigoy ‘4 pdo.ty Sunonb) (6661 “ID POA) SOET “8671 PEA Z8I “OD pévyavd-uajmay]

‘A ‘OU ‘Samog Aaujig ,{WIe[d Oy) 07 ,A}I[eIIA pur “SuTUROUT ‘OJI] DAIS 0} ATeSso9_U,,, :suistidwos ‘SUISTICUIOD

SI }I JOU “WIRD dy] JO SUONLIIWI] 9]1991 JOU SSOP HI NsNed9q SuTWMUT] JOU SI o]quuIBoId SY L, ‘snqyeiedde ‘snyeredde

oll UONRINSIFUOD oll} UOTRINSIJUOD

‘ZUY] Ayjpsauas aay ‘snyeredde ony uolensiyuod yuInb & soso]osIp ZUd'T juinb y juinb v

yuajed $16, juajed 9¢¢,

WY 10L1g 194jO pur zusaT

 

94) JO [ WIR)

 

94} JO | Wel)

 

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‘O[XB IVII O[SUIS B SOPNIOUI posojosip wjsAs uorsuadsns oy, (€100 b) LS000000 ANO
-J “38'a ‘Bag ‘syon) Olly DIZD 4ajzul 10} W9}SAs UoIsUddsns & SoYyded} [] UOSIOpUYy

‘90160000 ANO-d - 9€£90000 ANO-d :(sopxe oALIp vueG

“3°9 “SUIQLIOSOP) Z79100-610TUdI PUB 191000-610TUdI WU! poy suonnod Yq] op “sa
‘2aG ‘SNOIAGO JUDLUD[9 WIR]D SIU} SIopudl pue sop ye JoLd JdyjO ‘o] xe IvdI O[SUIS OY)
JO UOTJON.YSUOS OY} dSOOSIP ATOI[dxXd JOU SOOP ZUDT FEY} POUTLUIDJOP SI II JUD}XO OY} OL

‘PO-LSiS Sp € “| ‘SBA 1B Zus’T] “B'a ‘Gag ‘suotUayUOD JUOWOSULU]

SJJNUIL] g Ul UMOYS SB JUIW]S STY] JO UOTNRIOIdIOIUI ,SJJIUIe]g UO poseg ‘[BNUDIOIJIP
B JO SOpIs [e1O}R] Sulsoddo wo Surpusjxd o[xe puOdds OY} puUe TXB ISAT] OU}

‘juIof A}IOOJOA JURJSUOD PUODOS B SUTARY 9[XB PUODOS B PUP JUTOL APIOOJOA JURISUOD SIT
B SUIABY 9]XB JSAIJ B 10 ‘SISSBYD OY} SsOIOB A][e.1D}e] SUIPUD]X9 UOTVINSIJUO o[Xe PI]OS
Q[BUIS B :IDYIIO SOSIICWUOD Jey} [XB 1vd1 BISUIS B SOpNyoul zus’T Jo snyesedde oy oy

OY} puv d]Xe ISII
ayy “quIol A}IDO]OA
jUR}SUOS puoddds

B SUIARY 9]xe
puosds v pure yulof
AVIOOJOA JURISUOD
}SIJ B SUIARY

O][XB JSITJ BIO
‘SISSBYD IY} SSOIDB
Ajje.19je] SUIPUd} XO
UOBANSIUOD I] xXB
PI]Os d]SuIs B :104IIO
SOSLIduU0d 9]xP 1B91
o[SUIS OY] UTOIOyM

 

"CO-LS*6 “TE-LTS

°¢ ‘| ‘SBA ye ZI] “3'a ‘aag “SULIO) dSdY} JO UOTJONSUOD $.JINOD oy) pue ,poydnoo,,
jo uoronysuos uodn posse ,soried oy} 0} JUeNsind puke suonUdUOD JUOWOSUTIJUT
SJJNUIL] g Ul UMOYS SB JUOW]a STY] JO UOTEJOIdIOWUT .SJJIUIe]g UO paseq ‘sIsseyo
OY} JO pud Iv B OF Poydnod o][xP Ivo O[SUIS B SOpNjoUT ZuUd'T Jo snyeredde ony Oy,

‘sIsseyo dt} JO pus
Ival B 0} poydnoo
O[XB IkOI O[SUIS B

‘sISSBYO OY] JO pus
Ivol B 0} poydnos
O]xP IvOI O[SUIS B

 

"CO-LS=S “TE-LT-G “07 “LI

‘pl ‘p ‘T ‘S8lq ye Zuo] 8'a ‘aay “SULIO} OSOY] JO UOTON.SUOD S$ .JANOD oY} puke ,.poydnoo,,
jo uoronysuos uodn posse ,soried oy} 0} JUeNsind puke suonUdUOD JUOWOSUTIJUT
SJJNUIL] Ul UMOYS SB JUOWI]S SIy] JO UOTPOIdIOWUT -SJJNUIe]Tg UO poseq ‘sIsseyo

oY} JO pud ju vB 0} pojdnods o]xe JUOI o[SUIS B SOpNpoUT ZuUd'T Jo snyeredde ony oy,

pue
‘sISSBYO OY} JO pus
UO B 0} poydnos
o]xe JUOI o[SUIS B

pue
‘sISseyo oy} JO pus
UOJ] B 0} poydnos
O[XB JUOI O[SUIS B

 

‘ZUD] ApjD4auas aay ,“SISSPYD,, JO UOTJONAYSUOD $,1.1NOD oY} pue , pojdnos,,
jo uoTonsuOd uodn posse ,sorjied oy} 0} JUeNsind pue suonUd}UO_ JUSWOSULIU]
SJJMUIL] Ul UMOYS SB JUSTO SITY} JO UOTJEJIGIOVUI |SJJHUIL]g UO paseq ‘sIsseYyd dy}

‘sISSBYO

dy} 0} poydnos

SI Jey} pud jewrxoid
B SuIAvYy ATquuosse
Joppe] oy} ‘suoroas
JOppe] o]qisuayxo
jo Ayyeanyd

‘sISSBYO

oy) 07 poydnos

SI Jey) pus yeurtxoid
B SuIAvY ATquuosse
JOpper] dy} ‘suoloes
Joppe] o]qisua}xo
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quojed C16,
oY} JO | WIR)

 

yuajed 9¢c,
oy) JO | WIRD

 

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‘(9 “¢ “€ “S8IA) $S-hS000000 ANO-H *7$000000 ANO

-J Os]p Aas (Q€00 bb) 6S-8S000000 ANO-A. ..’Solquuosse Jooym Avo oY} JO UoTIOd
B ATUO JO ‘SOITQUUIDSSB [9DYM IBdI JO Ited yoRd ‘A]QuUIDSSe [ODYM IOI YEO 0} puodsa.1109

0} popraoid oq Avur wi9jsAs uorsuddsns oy} JO uoTod & pue ‘so[xP PISII ‘o[SuIs SIO
Jo quo Aq 194}080) pajdnos oq jou Aew 10 ABW Jey} SOT]QUUOSse [904M IvdI JO JoquINU
Joy}O AUB JO ‘SOI[QUUOSSE [SOYM IBOI JYBIO ‘Sol[quUdsse [OOYM IVOI1 INO] ‘sol[quuosse
[99YM JeOI OM] DARBY ABU SJOIYSA OY} ‘S]USTUIPOquud Are]duUdXd puK SATILUIO}L SNOLIVA
Joyo 0} SuIPI0D9V,, *(6Z00 b) 85000000 ANO-d «.."Uopusdop, oq Avur wio}sAs
uorsuodsns 94} Jo uoTjIOd yuo oy) a[IYM ,JUOpuddapul, oq Av LUd}SAs UOTSUddsns
oy} JO uoTyod 191 9y} JO ,‘jUopuodop, dq yIOg Aew wWa}sAs UOIsUadsns 9Y} Jo suONod
Jedi pure UOJ dy) ‘syUOWIpOquid Are[dwoxd puv dANRUIO}® SNOLIVA 0} SUIPIONDY
‘UOTTBAINSIFUOD StS dy} dAvY APU EZ UOTIOd Jed pue [Z UOTLOd jUOI 10 “QT Wd}sAs
uorsuodsns Jo ¢Z uonod seal uey) APUdJOJJIp porn31yuod oq AvW Q]| Wd}sAs UOTsUadsns
JO [Z uontod yuoy,, 241 “(8Z00 |) 85000000 ANO-d ..’o19!Y9A oy) Jo ovuely oy) pur
O]XB OY] USDMJ9q Popdnod aq 0} SJopuTTAD OY} MOTTR Jey] S}USUOdUUIOD JUDIOJJIP Opnyoul
Aewl uonlod sos oy) ‘ojduexo 104 ‘SO]XB PISLI OJOU IO DUO INS 0} poydepe oq Av
pure (19y}0 yore Jo AjjUopusdopul SUIAOW WoOJ LUOY) syUdAoId yeu} [XP PISIA ‘o]SuIs

B O} PoJOOUUOD IIB PpZ PUB PZ SOT|QUWUOSSP [OOYM AvOI DIOYM *'3'd) dA} ,JUSpUadop,
oy Jo oq Avwu,, ¢7 UOTIOd Avo BQ] Wd}sAs UOISUOdSNs OY} “JUDWIPOQUUS oUO UT

(L100 b) LS000000 ANO-d «PZ SOLquasse JooYM 0} QZ 9oANos Jomod Aq popraoid
Jamod 10 onb10} oy} Jaysuvs} 0} 194]980} poydnoo aie yey} “9J9 ‘s]eIUDJAJJIp ‘syurof ‘syeys
DALIP SB YONS SOSTADP SULLIJSUBI] UOTJOW JO SOLIDS B 1O/puUR ‘JIUN UOT}ONpol pud [ooyM

B ‘UOISSTUUSURI] B OpNOUT ABU UTROALIP oy} ‘syUOUUTpoquus Are]diuoxd pue saeUsdyye
SNOLIBA 0} SUIPIOIDY “UOIIOIIP (194}0 JO) PIBMIVII IO PIBMIOJ B UI QT I[OIYDA

jodoid 0} pZ soljquuasse [904M 0} YZ 9oINOS JoMOd OI (JUOWIOAOW JO) Jomod sioysue}
pue PZ Sdl[quuiosse JoOoyM pur QZ 991NOS IoMOd UdEMJOq po[dnod sI ZZ UIB.NOAIIG,,

(67-8700 bb) 85000000 ANO-3

(9 “g “€ “S814) $S-7S000000 ANO-d ‘7$000000 SNO-d “S'a ‘aag “wajsAs uorsuadsns
juopuodop & 10 wi9jsAs uoIsuadsns juspusdopul ue ul poinsiyuod oq ABU YOIyM

*[eNUSIOIJIpP

B JO SOpIs
[e19}e]| Sursoddo
wojj SuIpuayx9
o]xB puoses

 

 

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(O] xB IvdI PI[OS O][SUIs B puv d]XB IvdI B SUIARY Yon oily B) syUoWOTO WR JOLId osoyy
OUIQUIOS 0} UMOUY dAvy PlNoM IITs Areurpso Jo uossod v ‘sny[ “reol oy) 1B (SISseYyd oy)
SSO10B A]]VIDL] SUIPUD]XS UONLINGIFUOS O]Xe PI]OS B) 9]XB PISLI O[SuIs eB SuIpNyour “yon.

O11] B JOJ W9}SAs UOISUddSNs B SOYoRDd] YOIY ‘[] UOSIOpUYy “3"9 ‘Aq poyesysuOWOp SI

SIU], ‘SO[XB YIIM poje1o0sse oq 0} YONI OUT] BJO STIOYM Jo Jos B IOJ [eoIdAy sty “s}[NsoI
g]qe1oIpoid pyoiA 0} SpoyJOW UMOUY 0} SUIPIODOR SyUSWI]O We JOLId JO UOTeUIqUIOD
e AJOIOUW SI ‘J] UOSsIOpuy “3d ‘ye JOLId pue ZUdT] JO UOTFRUIQUIODS OY} ‘OJOWIDYIIN J

‘yon.

oI B UI poyUdtUS|duut ATIpeos Ud9q SARY PyNom pur poyuowOdu sem yey) uoNdo usisop
Q[DIYOA UMOUY-[[9M B ST ATQUIOSSE 9]XP IRI O[SUIS B JO OSN dy} ‘poopuy ‘]]P{S Areurpso
Jo uosiad B JO OSpo[MOUY IY} UIYIIM [[OM Bd1OYO USISOp vB SI UONBOT|dde yons oly USATS
B OJ VLIOJLIO USISOP popUdUT dy} JOO 0} A[QuUOsSse o[xe oJeLIdoIdde uv Jo UOT}D9]9s OY L.

“BLIO}LIO SOURUDJUTRU OSPLIg puv PROI JO] INQ ‘SUOTIRAIOPISUOD ;ROTUYID}

JO BULIDOUISUD S[OTYDA JOJ JOU ‘pasoduur syrwI] PROT d]xe [BIOpay puB 91¥1S SUTULIODUOD
SUON]LINSAI SE YONS ‘S.10] OBJ JOYIO YJIM d]XB IvdI [SUIS B SUIZI[IIN Jo s}ljousq pue
SosvJUPAPR UMOUY OY] SOURTeg P[NOM je OY] UT [[P{s AJeurpso Jo uosiod v ‘A]TeUOTIPpY

‘poyeUILUT]d st A[quUosse oyxe LUOpUr] B

Jo A]quulosse [OOYM puUe o[XB [BUOTIPpe oy} dsNeddq psoNpds oq URS oINJORINUELE JO 1S09
[[BIOAO OY} ‘d]XB OISUIS B UO YONI] OY] JO TYSIOM Jeo OY} SuToR]d Aq “JOYWIN ‘solpquuosse
9[XB Jeo (jenp) Wopue} SuIAO]dwd dsoy) URY) d[qRISANOUPU SIO JIB pu 19}}9q

o]puRY ULO [XB IvoI o[BUIS B BUIARY SYONI} dITF WY] POZTUSOdI [JOM SI I ‘ATTBOTIONdS
‘A]QUUOSSE O[XB WopUr} B JO A[QUIASSe O[XB O[BUIS B JOYIIO YIM Yon. sy B JO UoTsuddsns
Jed1 Oy} SUNUSUD|CUT YIM poyeLoosse soseURApR PUP S]JOIPeI] USISOP oy) 9ZIUSODAI
P]nom [[Lys Areurpso Jo uosiod B “AAODIOP “[][ UOSIOpUY ‘°3'd “ye JoLId oy) Aq 1Yysnv} se
d][XB Ivo o[BUIS B OpNyoUr 0} ZUdT Aq posoposip snyeredde ayy AjIpow 0} sNorAqo I punoy
DALY P[NOM UOTUSAUT pasoq]e oy} JO OU] OY} We ye OY] UT [[Pys Areurpso Jo uosiod W

 

 

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quojed C16,
oY} JO | WIR)

 

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oy) JO | WIRD

 

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“UUd}SAG 9]RISIOUT DY] UO SOTOTYOA

UILLIND JOJ SPW] JYSIOM OY] SUISTAD Aq “WId}SAG 97R]SIOJU[—SUON EIU] JYSIOM OTOIYO A,
‘LTI § ‘O'S €Z popuowe MV LSVA MI JO OP] YONd9g “(H6-PI TT ANd) (.9V
LSVa..) PV UoneVodsuvly soRjANG s,POLIOWWYy SUIXL OY} ME] OJUI POUBIs JUSpIsolg

OU) “S TOT JOQUID9NQq UT “S[OT Ul UOTPRISISO] OY} SuIssed ssoIsUOD “S‘f) SY} UI [Nyssooons
AJOVRUT][N d1OM *] [OZ UT poyEys “syoyyo Surkqqo] Ss, VINVA “9T:8-79:L Te juored g¢¢,
“Ba ‘aay ‘syuayeg powossy oy) Aq pasoyosip uoTeoIoods YM VD O[Xe Ivo o[surs ATUO
OY} SI JLT] O]XB POSPOIOUI OY] “SO[XB BOI D[BUIS 1OJ YMA VD SQ] OOS‘EE BJO UoNdope
Aroyepnsos Joy possoad YAW A ‘SOAMUOUT USISOP YUM OUT] UT “ZOET-S6Z10000 ANO
-J 9a “SO[DIYOA ADUDSIOUIO JOJ SOTXB IBd1 OISUIS JOJ QUAM WO) Surjel JYSIOM oyxe ssoss
O[QeEMO]]L LUNWIXPLU dy) ‘SSUTYy] JOYIO SuOLUR ‘asBdIOUI 0} SUOTIE|NSoI puK SMB] OSULYO
0} SIOYRUIME] [BIOpoy puv oye1s SuIAqqo] sem (YI VA) UONeIOOSsy sJoMjoRjnuRyy
snjeieddy orf oy) ‘JOR Ul “SUTVI IYSIOM ILTIUUIS JO DWES B YIM O[XB WOpUr}

B OQ P[NOM UY} YON B UO Pd|[eISUI UOYM 199} 0} JOISBS ST PUB OINJORJNUPU 0} IOdeoYys
SI O]XB Jeol o[suIs Aynp AAvoy & Jey) pojd9dx9 Usdeq SABY P[NOM jI BsNed0q dsURYO

SIY} SULYBW O1OM SIOINJORINULLU PUL SIOUSISOp oy], ‘sUOTTeoI|dde owWOS JO} sopxe
wopur} ddvjdor 0} syons} OT UO SoPXB IBOI o]SUTS Ajnp AAvoy SN 07 SUTYOO] d19M Syony
OI} JOppe] [eLov JO s1oinjovjnuew pur siousisop ‘T [OZ AG “[TTOT SB Ase se sed]

J SOATJUDOU! USISOP SUIATOAD Aq UDALIP seM ‘]] UOSAOpUY ‘'3'9 41k JolId oy) pue zUdT
UI SJUDSLUD]O LB JOLId JO UOTBUIQUUOD oY} ‘sadUd1OJO1 OY] JO SSuTyoRd) ssoidxo OY) YIM
SUOTR “OAOGE YLOJ 198 []P{S ATeuIpso Jo uosiod vB JO Ispo|MOUY [eJOUIS OY} 0} UOTIPpe Uy]

‘zuay] Aq 1ysnv} yey) sv Yons “JOppe] B YIM Yon oJ B UT (SISseYyo

OY} SSI A][VIO]L] SUIPUD]X9 UOTJBINSIUOD 9] XB PI[OS O]SUIs B SUIPNjoUT) LUd\sAs
uorsuodsns si Suisn soysea} A[ssoidxo |] UOsIOpuy ‘[] UOSIOpuy ‘*3‘9 4B JoLId oy}
UI PUNO SSuTyoRd) WOT]Axd oy} pozIUsoOdaI dARY OS|e PyNomM |] PFy{s AJeulpso Jo uossod y

‘(yon OJ OTIGOU B SUIPIAOIC) s}[Nso1 s]QuIOIpoid poIA 0} (SISseYyd
OY} 0} S[Xv OY} pu O[XB OY} 0} SooyM oY) SuTTdnod) spoyjoW UMOUY 0} SUIPIOIOV

 

 

JAY 1OLIg 1243O pur zusT

 

quojed C16,
oY} JO | WIR)

 

yuajed 9¢c,
oy) JO | WIRD

 

MOL-WSI-L1900-A9-8 1:8 “ON 2889 “7) J “OUT ‘AUQ-J “A “Jd Ja “OUT “BY a2da1g

 
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jo Aqyiqedes “yony ay) punore UOTOW ,QOE B YIM (JeWWOZIIOY) ,— JO UOISUd}XxO
[[ty SuLmMp :sMmoyoy sev ojdwexa Joy ‘uonesodo Sunysy oy ev Sump JojeM Surdund
UI posn UdYM JUOWOSURLIL OY] JOJ UOTFROTJIOOdS B Og ABUT 9194} ‘soOUBISUT DWOS U],,

(89 814) LZ7100000 ANO-d 057? 228 ‘(7600-0600 bb) O€ 100000 ANO-A

_ WAOFe]d oy} UO poled osye juowdinbs onosoJ pur yuoudinbs sunysy

OMI} “SGT SOE OSTe ‘pur “sq] QOO‘T OF dn suosiod Jo yYySsIOM vB SUIALIVS Jo d]qQedeo
“O'l) 8 WIOFIe]A OY} Ul Peo] SAT] “G] OOO] 2{ON. OY) puNnoe JUSLUDAOLWU ,QOE YIM
(JOppe] OY} JO UOTSUD}XO [RJUOZLIOY “d'1 £ ,Q 1 UOISUD}X9 [[NJ Je) SuNLA peo] VY ‘Z
2}99J

OO] sduexe 10j ‘g WUOJeId Jo ([reipuey 0} punoss) JYSIOY d[QIpUd]Xd [RIO] ‘|
“SMOT[OJ SB polyioads oq JYsIw | ATQuosse JOppr]

onosoal ony /SuNYsiy omy ojdurexs ue ‘ojduexo Jo4 ‘suoneoiyioods poynuapt 0}
pojon}sUOd dq [IM | JUOUOSUB.LIL JOppr] S]IQOW sev YONs syuoWOSURLE [RoIdAT,,

:JOPPP] 100J-NOT BJO (diy) pus [wisp oy} ye yuUowdinbo Jo sq] coe snjd sq] YOOT 40
SQ] OOS J0yII9 Woddns 0} a[qQe yony] JOppr] [elioe ue Jo AVI[IQeIIsop oy) soyove} ULULING

‘uBULINg SUIpNyour ‘ye

JOLI JOY}O JO MOIA UI SNOTAGO Uddq SAKY P[NOM JUDD] STY} ‘JOdJ $6 ISB] 1B JO TYSIOY
[BOILIOA B PUL 199} 6 ISEO| 1B JO YORI [eJUOZIIOY B oprAold 0} a[qIsua}xo sI ATqQuUOSse
JOppe] OY} Jey} osoposIp ApHO1]dxo OU SaOp ZUDT Jey} POUTWIOJOp ST 71 JUD}Xd OY] OL

199]

C6 1SBd] 1B JO IYSIOY
[BOILIOA B pue 199J
06 ISBOT IB JO YORI
[ejuoziioy e spraoid
0} d]qQISUd} xO

si A[quuosse

JOppe] oy} UISIOyM

199]

C6 ISBd] 1B JO IYSIOY
[BOILIOA B pur 1d9J
06 1SBd] 1B JO YORol
[ewuozioy eB oprAoid
0} O[qISUd} x9

st A[quuasse

JOppr] oy} UIOIOyM

 

“SUIRID poylosse
dY} JO JUSLUD]O SIY} SNOTAQO SJopUd ‘fT UOSIOpUY “3'9 “jue JOLId oy} YIM zusT Aq
POSO]OSIP O[XB IVII JIBUIS DY} JO UOILUIQWUOD dy} ‘SUOSBdI SUIOBIIOJ DY} [Je ISI] 1B 104

‘SO]XB IVII O[SUIS 10] YMVO

UUNLUTXBLU JOYsIY pomoyye yey} soduvyo A1oyepnsoi Aq o]qissod opew jOyIeU MoU B 19]U0
0} Asnpul sy} Aq pozrusosos yuowdinbs Sunysy-ony SuNstxo Jo uoeidepe ue sem
‘IOIVY “UBAPR [ROISOT[OUYIO} B JOU SEM S]JUdIV Poyassy IY] JO UONUSAUT posoy]e sy

 

 

JAY 1OLIg 1243O pur zusT

 

quojed C16,
oY} JO | WIR)

 

yuajed 9¢c,
oy) JO | WIRD

 

MOL-WSI-L1900-A9-8 1:8 “ON 2889 “7) J “OUT ‘AUQ-J “A “Jd Ja “OUT “BY a2da1g

 
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“JUOUUI]S WIRD SITY}
SNOIAQO SIOpUdl ‘UBLULING SuUIpPNyoUT ‘ye JOLId J9Y}O YIM ZUd’T JO UOTeUIQUUOD oY} ‘snYyy,

‘AT[VOTIOA pue A][LJUOZLIOY 199J OO] ISVS] 1B IO SATTBSIVIOA JOO] CG ISBd] 1B

pure A][eUOZLIOY 199] YG ISBI] 1B SuIyoRo Jo I[Nso1 9]QvyoIpoid oy} plod 0} Zua'T Jo yony
OI} AVTIWUIS oy} DAOIdUUT 07 poyuoWe|du oq ABW URLINgG Jo UONRoTsIO0ds o[qeiIsop

OUL ‘YSY aay ‘synsos opqeyorpoid pyord 07 yUOWOAOIduUT 10J Apeol ({] UOsIOpuy

“3°O Ve JOLId YIM UOTJBUIQUIOD UI JO QUOTR ‘ZUd'] JO dDIAOp pe JoLId dy}) SdIADp

UMOUY B 0} (UBLUINg JO UONvOTJIONds Joppe] dy) onbruysa) uMouy ev sulAjdde sopnyout
JI OSNVIOG UONBOIJIPOU SITY} Opel dALY P[NOM [[hys AreUuIpsO Jo uosiod vB ‘A IETIWIS

‘syjouog URWLINg JO yonI] oI oY} yey) ABM OURS OY} UT ZS] JO yon.

O11J JBTIWUIS OY} OAOIdUUT 0} poyULUO| dw oq ABW UOTeINSIJUOD o[QeIIsop “Ie[NoTyed

SIUL ‘(7600-0600 bb) O€ 100000 ANO-A “Al[euozOY popusyxo AT[Ny UoYA Joppe] 100J
-0OT BJO (g wo; eT) dy oy ye JuUowdmbo Jo sq] SOE SNyd Sq] OOOT 40 Sq OOS J9YITO
woddns 0} 9]qR dq 0} Yon JOppry [eLoe uv JO] UMOUY-][OM SPM JI JY] SOSOTOSIP URLLING
‘QAOGE Possnosip Sv ‘dOURISUI JO. “(L00T) 86E S'N. OSS “Us xaYaja ‘A ‘OD 1,1U] USY
‘ABM OLUBS OY} Ul DOTADP AB]MUIS B OAOIdUUT 0} onbruysd} UMOUY B JO oSn B A[OJOUU SI

JI OSNVd9q UOTPROTJIPOU STY] OpeUT SARY PfNOM I][Fys AreuIpsO Jo uosiod vB ‘A]]euOTIPpY

‘g]qissooovul A[SNOTAdId svore 0} ssod9v PopIAOId dAvY P[NOM UOTedTJIpoU

SIU, “UeLULINg Aq PosoySIP sv ‘AT[BOILIOA 199] QO PUdIXO pynos A]qlUaSse JOppr]

94} Jey} YONs ‘TT UOsIOpuy “3"d “IOLId JOYIO YILM UOTPBUIQUOD UI 10 QUOTR ‘zUD"T Aq
posoposip snyesedde ory oy} poryipow savy pynom ye oy) Ul [Es Areurpso Jo uossod v

‘(89 S14) LZ100000 ANO-A sj?

28 ‘(600-£600 bb) 0€ 100000 ANO-d «ST 914%) UN} & UO PUD oUO Je poyUNoU Z]
‘TI ‘O[ SUOTDOS ‘a][qIPUd}XO ‘d01Y) SUISLIdWOS ¢ JUOLUDSULI Joppr] B (ev) :suIplAoid Aq

SUOIIUTJOp dSdY} SJOOL | JWOWOSUBLIE JOppr] s[IGOW oY} ‘gg ‘OL Ul poyordap oyduexo
oy} Joy “wos e]d oy) UO Osye 1Ys1I9M JUStUdINbs ‘sq] SOE pur (WUIOJ}eId Oy) UO TYSIOM
uosiod) peo] SAT] SQ] OOS YIM oyNUTUU Jod suo][es YSZ] JO MOT] 19]eM OY} SuIseUeLT

 

 

JAY 1OLIg 1243O pur zusT

 

quojed C16,
oY} JO | WIR)

 

yuajed 9¢c,
oy) JO | WIRD

 

MOL-WSI-L1900-A9-8 1:8 “ON 2889 “7) J “OUT ‘AUQ-J “A “Jd Ja “OUT “BY a2da1g

 
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B dOURTeqINIUNOS 0} pouoT}sod ose YUP} JO}VM Jy} pue ‘duund oy} ‘Ajquiosse Apoq
OY} ‘SISSBYD SY} JO UO ysRO] Je JO APAVIS JO 19]U99 OY} ‘ZUNT JO smviedde oy OY} UT

Sed] Je JO AVIABIS JO
19]U99 OY) UIO1OYyM

JSBO] Jv JO AWIABIS JO
JO]U99 OY} UIOIOYM

 

‘(80979000 ANO-d) STOZ ‘¢ ABW .. uondo sisseyD se o[xVv

Ivdy punog-ooO'se sppy Jonequosoy,, “ASNOHAULA «.“uey Ayoedes 19}eM JOSIV]
v Jo/pue juowdinbs onosoi Aynp AAvoy Aled 0} syuowyedop [ol] soyqeus o[xe [1vo1

punod-ggo‘s¢ eueq] JorAvoy oy},, HY] MOUY plNoM UOUSAUT pasoy]e oy] JO ot oY} 1e
ye oy} Ul [[Fys Ayeurpso Jo uosiod y ‘spunod-goo‘s¢ Jo Sunjel B YIM SopXe IOI IOIABOY
SULIOJJO SBM ‘OUT ‘BUR OSNKI9q jSBd] 1B WR JOTI JOYyJO SNoLIVA Aq PdsO]OSIP SB IOV

JO SUOTIES QOS ISRO] 1B UIEJUOD 0} PoNSIyUO yuR} 1O}eM B OpTAOId Oo} UONUDAUT posoyye
dU} JO Ol] OY} Ie 1B OY] UT [[Pys AeuIpso Jo uosiod B 0} sNOTAGO Udaq OS]R SAY P[NOM JT

‘(PrEI-LEETO00D ANO-A) (SyxUE} JoeM WOTTS YS ISBI] 1B SUISOTISIP) 6007 ‘I “G24
COG UBD I] YM MOUY :UINA 1004-C/ OY I,, “‘SuLsouIsUq oy “(,,SUOTTeS QOOT UPI
dIOWW JO sUOTIeS OOS SB Yyontu se,, Jo Ayloedes ev sey [| Yue) prnyj) g-p:9 1 (,,ddesy,,)

‘ye 19 ddery 0} [98°S67'6 ‘ON deg “S/F {(yuUR] 191BM UOTIeS QOS B SUISO]OSIP)

I “Sq ‘01-9°6 “€2b-79:7 “€T-LI-T 1 (.,0uR.,,) our) 0} €OP‘OES*L “ON WdIed “S'N

“Ba ‘OS]D ‘2A8 <7OLT-L6979000 ANO-d ‘0L9-89900000 ANO-d ‘S9b-79+00000 ANO
-q ‘8'a ‘aag ‘snyeieddy oly oATIOWONY JCJ plepuris [N61 VdAN OU JO 6 JoideyD

ul poprAoid se syurnb J0J syuowosmbes winwiurw oy} ssedins pur yoo 0} pur ‘sory WS
0} snyesedde o]Suls B UO OIQRITRAR J0}BM JO JUNOWUL OY} DSvdJOUI ppnom Ayoeded J9}BM
OY} SUISRIIOUI OSNKIO JSB9] 1B SNOTAGO Ud9q SAY P[NOM UOTBOTYIpoWw sTyy ‘We 10LId
JOYIO SNOLIBA Aq PISOJOSIP SB 19}VM JO SUOTTLS YS ISBI] 1B UTEJUOD O} PoNSIJUOD SI 1
OS YUP} 1O}VM OY] AJIPOU OF UOTJUDAUT PoSoT]e dy) JO SLUT] OY} 7B We OU} UT [[PYSs AJeuIpso
JO uossod B 0} SNOTAGO Ud0q DALY P[NOM JI JUSS] SITY} OSO]OSIP A]}91[dx9 Jou soop
We JOLId JOYy}O YIM UOTBUIQUUOD UT 10 QUOTE ‘ZUD7T JY) POUTLUIDJOP SI JI JUd}X9 OY] OL,

pur ‘10yeM

JO suo]]es 0OS
JSBO] JB UILJUOD O}
poinSIJUOd ST yuR}
JOVVM OY} UIOIOYM

 

‘TE61-99 “pr-€-81
“TS-OEVLI SSS-EOT SES-LHEL *ZHE-1 LZ “OBISGY 1B ZUd] “'S'A ‘OS]D aas *E¢-CH:8]
ye ZUd] “'3'a ‘vag peo] dy,, Jo uoNoNsuOd s,}.1NO*D dy} 0} JUeNSInd puke suoTUD}UOD

pue

‘spunod g¢/ seo] 18
Jo peo] dy e yoddns
0} pounslyuod

‘spunod g¢/ seo] 38
Jo peo] dn e yoddns
0} poinsijyuos

 

 

JUSWOSULYUT ,SIJNUTE] Ul UMOYS Sv JUS] SIy} JO UONRIOIdIOWUT ,sJJHUTIeTg UO poseq si Ajquuosse st Ajquiosse
‘spunod Q¢/ 1se9] ye JO peo] dy ev yoOddns 0) ponSyuoo si zus'T Jo Ajquiosse Joppe] oy | JOppey oy) ulssoyM | JOppe] oy uroOyM
quajed S16, yuazed 9¢¢,

JAY 1OLIg 1243O pur zusT

 

oY} JO | WIR)

 

94} JO | Ue)

 

MOL-WSI-L1900-A9-8 1:8 “ON 2889 “7) J “OUT ‘AUQ-J “A “Jd Ja “OUT “BY a2da1g

 
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Ol

 

EL-Ph:9 -9T-STS

°Q ‘/ “€-] ‘SBIq ye ZUNT ‘'3'a ‘aag .SISSeYO,, JO UOON.SUOD S$ JINOD oY} pue ,.poydnos,,
jo uoTonsuod uodn posse sored oy} 0} JUeNsind pue suonUdUO_ JUSWOSULIUT
SJJMUIL][ g Ul UMOYS SB JUDWI]S STU] JO UOTJBIDICIO UI ,SJJUIe]g UO poseq ‘9]R}01

0} poind1yUOd SI A[QLUOSSB JOppe] dy} YOIYM JNoge sixe Ue SUIUIJOP pu sIsseYd oY} 0}
A[quiasse Joppe] oy) Suljdnoos [e}sopod ev sapnyoul zuay] Aq posoyosip snyeredde oy oy],

“918101

0} pounslyuod

st A]quuosse JOppr]
oy) YoTy jnoge
sixe ue SurUTjop
pue sIsseyo oy} 07
A]quuosse Joppe] oy}
sul[dnood jeysopod
e Suistidwuos
JoyyIny ‘] WIeR]d Jo
snyeredde ony ou],

“R101

0} poinsijyuos

si A[quiosse Joppe]
oy} YOTyM jnoge
sTxe ue SUTUTJOp
pue sisseyo oy} 0}
A]quuosse JOppe] oy}
suljdnos [eysopod
B Sulsiidu0s
Joyyny ‘| wield Jo
snjeredde oy oY

 

WY 10L1g 194jO pur zusaT

quojed C16,
oy) Jo Z WIRD

juajed ogc,
oy} JO 7 WIRD

 

 

“UBLULING JO SINSOPISIP dy} UO poseg UOTBUIQUIOD SNOTAGO dy} SuIpIeSoI

UOISSNOSIP SAOQK OY} Pue “99160000 ANO-d - 9€L90000 ANO-d ‘Z9100-6107UdI pue
1[9L00-610ZUdI Ul suonned Yq] ‘'s'a ‘aag ‘uRULINg SuUIpNyoUt ‘ye JOLId J9y}O JO MOIA
Ul JO/puUR JB OY) Ul [[Fys Areurpso Jo uosiod vB Jo o8pa]MoUy dy] UO paseg snoIAqo Ud0q
DARBY P[NOM JUSLUD]O STYI JOOJ YG ISB9] 1B JO YORI [eJUOZIIOY dy} 0} popudjxo A]quuosse
JOppe] oy} YIM peo] dy oy) Aq poyesouds JUOWIOU B dOUR]TRGIOJUNOD 0} pouoNtsod oe
yur} 19}eM oy} pur ‘duind oy} ‘Ajquiosse Apog dy} ‘sIsseyd OY} JO DUO Jsed] Je JO ATIALIS
JO 19]U99 OY} JY} dsOJOSIpP A]O1]dx9 JOU Soop ZUD] Jey) POUTLULIDJOp SI 71 JUd}X9 OY} OL

| | | TE61-99 “ph-E:81 *ZS-9EELT *SS-€:91
“ES-LPEL “PS-1S°9 [Z92€-1 1:7 “PORNSGY ‘8-¢ ‘SSIq Ie ZIT ‘3'a ‘Osyy aas S¢¢-Cy:g] Te
ZUd’T] ‘'3'a ‘Bag “UOTETIUUT] STU] JO VOT|ONASUOD S.7.1NOD OY} 0} JUeNSINd pue suONUaqUOD

‘JO9J 06 ISBO] 18
JO yorol yeyUOZ1IOY
ay} 0} popus}xo
A]quuosse Joppe] oy}
ym peoy dy oy Aq
poyeioues yuoWOW
B JOUR] eQIO}UNOD

0} pouonrsod

ore yur} 19]eM

ou) pue ‘durnd oy}

"JOO 06 ISO] 18
JO yoral [eUOZIOY
oY} 0} popus}xo
A[quuasse Ioppey] oy}
yim peo] dy oy} Aq
poye.ioues yusuOW
B oOuUReqJa}UNOD

0} pouorrsod

o1e YUP] IO]BM

ou) pue ‘duind oy}

 

 

JUSLUDSULYUT ,SJJUIe]g Ul UMOYS SB JUDLUD]O SI} JO UOTJVJOIdIOWUI .sJJUIe][g UO poseq | ‘A[quuasse Apog oy} | ‘Ajquuasse Apog oy}
‘A][eWUOZLIOY popusjxo A[quiasse JOppe] oy) YIM peo] dy oy} Aq poyesouss JusWIOW “SISSBYD 9} JO 9UO “SISSBYD OY] JO 9UO
quajed S16, yuajed 9¢c,

JAY 1OLIg 1243O pur zusT

 

oY} JO | WIR)

 

94} JO | Ue)

 

MOL-WSI-L1900-A9-8 1:8 “ON 2889 “7) J “OUT ‘AUQ-J “A “Jd Ja “OUT “BY a2da1g

 
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I

 

‘Q pue | SUITED °7S-9E-LT *87-LI-8 *8b- EPL SEL-py:9 S9T-ST'S *8 L “€-1 “SBI

ye zug] “3'a ‘Bag ,,“Suljdnos,, Jo uorjonysuos uodn posise ,sored oy) pue suotudju0d
JUOWOSULIJUT ,SJJIUIe]g Ul UMOYS SB USD] SITY) JO UOTRIOIdIOWUT ;SJJWUIe]g UO poseq
‘oovjins puNnols & pue A[QUUdSSE JOPpPR] OY} JO SUN [eISIP B UIOMJOQ POUTJOp SI YSIOY
[BOIMIOA OY} UTOIOYM pur ‘A[QUUdSSB JOppR] dy} JO PUd [eISIP B pUR d7R}01 0} porNsTyUOS

si A[QUIOSSB JOppR] OY} YOIYM jNoge sIxe dy} UI9MIOQG POUTap SI YORos yeyUOZIIOY

oY) UIOIOYM ‘suUOTIeUSIIO Suljyeiodo Jo Aqyesnyd vB ojUI o[qvuontsodas AJOATOaTOs

si A[Quudsse JOppr] SY} Jey} Yons Je}sopod ay} 0} A[quOSse JOppe] oy} JO pus jewrxoid
oy} Suljdnos AjqeyejO1 9]QuIUIN] B SopNjoul zudT Aq posoposip snyeredde omy oy],

‘ovjins punois

B pue Ajquuosse
Joppry] oy} Jo suns
[e1sIp B u990M10q
pouljop st 1YysIoy
[BOTIOA OY} UIOIOyM
pure ‘A]quiosse
Joppe] oy) Jo pus
[eIsIp & pue 91e}01
0} pounsyUuod SI
A]quuosse Joppe] oy}
yoy jnoge sxe
oy} UdEMIOg PoUTjop
SI YORol [eJUOZLIOY
oY} UIOJOyM
‘SUOI}E]USLIO
suljeiodo

jo Ayryesnyd eB

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si A[quuosse

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A]qvyejO1 o[qeyuINy
B SuIslidwos
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B pue A[quuasse
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[eISIP B UDOMIOq
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[JBOIMIOA OY] UIOJOYM
pure ‘A]quiosse
Joppe] oy} JO pus
[eISIP & puv oR101
0} PoNSIJUOS SI
A[quuasse Ioppey] oy}
yoy jnoge sxe
oy} UdEMIJOQ PoUTjop
SI YOROs [e]UOZLIOY
oY} UTOIOyM
‘suUOT]RUILIO
suljeiodo

jo Aqtyeanyd &

oyUI oTqvuor}sodos
AJOA1}O9]OS

st A[quuasse

Joppry] oy} ey)

yons Je}sopod oy}

0} A]quuosse Joppe]
oy} JO pus jewurxoid
oy} Surjdnos
A]qeiejo1 o[qeyuiny
B Sulslidwos
Joyjiny ‘7 wed Jo
snjeredde oy oY

 

 

JAY 1OLIg 1243O pur zusT

 

quojed C16,
oq} JO ¢ WIR)

 

yuajed 9¢c,
94} JO ¢ UIB[)

 

MOL-WSI-L1900-A9-8 1:8 “ON 2889 “7) J “OUT ‘AUQ-J “A “Jd Ja “OUT “BY a2da1g

 
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cl

 

"SS-6b:L ‘TT ‘OT ‘SI “LI “ST I STI-S “€-1 ‘S81q ye ZuoT “3a
‘2aS ‘SUOT}OIS JOPpe] d[QISUd}xo Jo AjTTeinyd v sey yey} A[QUIOSSE JOppe] B SOSO]ISIP ZUD'T

JOppe] O[qISud}x9
jo Ayyeanyd ou
UIDIOYM “Pp WIRID JO
snjeredde omy oy

JOppe] o]qIsus}x9
jo Aytyernyd ou
UIDIOYM “fp WTBIO JO
snjyeledde ony oy],

 

JAY 1OLIg 1243O pur zusT

quajyed S16,
oY} JO ¢ WIR)

juajed 9¢¢,
oy) JO ¢ WIRD

 

 

'g pur | SUID *Z7S-9E-LT *87-LI8 “8h EPL E:L-Ph:9 *97-ST:6 +8

‘L “€-] ‘S8IA We ZUNT “3a ‘Bag * .“SISSBYO,, JO UO|ONSUOD $ JANOD oY} pue ,.poydnos,,
Jo uornonssuos uodn posse ,sorsed oy} 0} JUBNsInd pue suoNUd}UOD JUOWOSULIUT
SJJMUIE]g Ul UMOYS SB JUDW]O SITY) JO UOTRJOIdIgQWUI .SJJUIe]g UO paseg ‘sIsseyo

OY} JO OpIs [e1DIR] B WOI] Spud}Xo A[QuUOSse JOppe] dy) YOTYM Ur UOTISOd preMopIs

® pure ‘A[quudsse qed oy} WoI ABMB SpUd}xo ATQUUOSSB JOppeR] SY} YOIYM ur UOT}ISOd
piemivol B ‘A[QUUOSSe qed OY} IDAO Spud} xo A[QuIOSse JOppe] oy) YOY ul UOTISOd
PIBMIOJ B SOPNjoul suoNERUSLIO SuNeiodo jo Ayrpeinyd oy) UIdIOYM “sIssBYyd oY} JO

pus jUOI oY} 07 pojdnos Ajquuiasse qed B sopnjoul zua’T Aq posoposip snyeredde ony oy

“SISSBYD OY] JO

Opis [e1o}e] B WHOL
spuo}xo A]quuosse
JOppe] oy} YOry™ ul
uoIsod preMopIs

B pur ‘Ajquuosse
qevo oy} Woy Aeme
spud}xo A]quuosse
JOppey] oy Yor

ul UOT}Isod preMIvOI
eB ‘A]Quuasse quo

OY} IOAO Spud} xo
A]quuosse Joppe] oy}
yoy ul uoTIsod
PJBMIOJ B SOpNyoul
SUOT}EJUSIIO
sulyesodo

jo Ayyeanyd ou
UIDIOYM “SISSBYd OY}
JO pus JOT, oY} 0}
podnos Ajquiosse
qed v Surslidwuos
JoyyIny “¢ WIRD Jo
snjeredde omy oy

‘SISSeYyd oY} JO

opis yesoye] B WO
spuo}xo Ajquuosse
JOPPL] OY} YOIYM Ut
uonisod premopIs

B pur ‘A]quuosse
qro oy) wo1 Aeme
spud}xo A]quiosse
JOPpey] OY} YOM

ul UoT}Isod preMIvol
B ‘A[quuasse qeo

oY} IOAO spudyx9
A[quuasse Ioppey] oy}
yory Ul UOTIsod
PIBALIOJ B SOPNyOUl
SUOTIEIUSLIO
surjeiodo

jo Aytyernyd ou
UIOIOYM ‘SIsseYyd oY}
JO pud JUOIJ OY} 0}
pojdnos Ajquuasse
qed & Sulslidwos
Joyjiny ‘¢ WIR] JO
snjeredde oy oY

 

 

JAY 1OLIg 1243O pur zusT

 

quojed C16,
oY} JO p WIP)

 

yuajed 9¢c,
94} JO p Ue)

 

MOL-WSI-L1900-A9-8 1:8 “ON 2889 “7) J “OUT ‘AUQ-J “A “Jd Ja “OUT “BY a2da1g

 
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el

 

‘jIJoudg ‘] uOsIOpuy “3'9 ‘ue JoLId oY} Jo syony

OM] OY) WY AVM OWS 9} UI ZUDT JO Yons} IJ ARTIS oY} OAOIdUUT 07 poyuoUoTduut

oq Av UONeINSIUOS o]qQeIIsop ‘IepNoWAed sy, “}99J QO] JO SSOOxo UT pud}xo

JEY] SUOTIODS O[QIPUd}Xo YIM ATQUUASsE JOppr] B SOSO[OSIP ‘] UOSsJOpUY ‘'3’d “ye JOLId oY}
‘OAOE POSSNOSIP Sv ‘SOULISUT JOT (LOOT) 86E ‘S'N OSS “U7 XAY/A/AI “4 ‘OD ],IUT SY
‘ABM SLURS OY} Ul OOIAOP ABTIWIS B SACI 0} ONbIuYyd9} UMOUY B JO osn B AJOIOUW SI

JI OSNeI9q UOTBOIJIPOW sTy) opelU savy PynoM ]]rys Areurpso Jo uosiod ev ‘Aj;euoNIppy

‘UONISOd PIVMOPIS OY} Ul YSU] [[RIOAO PUB SUOTIIES S}I JO JOquUNU dU} JO SULIO}

UI POUT] SBM ZUIT JO A[QuIdSsB JOppeR] SY} JI ]QISsoooRUT ATSNOTADId SvdIE 0} SS999B
popraoid savy plnom vorRoyIpow siy} ‘si yy ‘suOTeNyIs Aouds1OWWd Jo JOquINU
Joyeo13 B UL [NJosn st yey) snyvsedde oN PoyOLIsoJ sso] B UI I[NSOI P[NOM Os UOTBOTJIPOU
STU} ‘SUOTIODS JOPPR] 9014] ULY} DIOUT S}soSBns YOTYM ‘ZUdT JO dINsSOpOSIP oy) YIM
JUdSISUOD ‘UOTTISOd peMOPIS OY} UI POJUSLIO st A[QUIDSSe JOPPR] SY} UIYM 199} 6 1SB9]
JB JO YORI [eJUOZLIOY OY} 0} d]qQISUd}xO SI A]QUUOSSE JOppe] OY) JO pUd [eISIP dy) UIOIOYyM
‘[ Uosiopuy “3"9 4ae 101d oy} Aq pasojosIp se SUOTIOOS JOppe] INOJ sopnyour A[quudsse
JOppr] Oy) Jey] YONs ZuaT Aq posojosip snjeredde ory ay) AJIPOU 0} SNOTAGO 7 puNoj
DARBY PINOM UOTUSAUT Poso]]e oy] JO SW OY) Je We OY) UT [[Pys Areurpso Jo uossod y

(uonisod premapis & Ul papuayxo JOppr] [eLIov UOT}N9sS-INOJ

B YIM snyesedde ory Be SuLMoyYs) 6 ‘SI 1e (,,[ UOSIOpuy,,) UOSIOpuY 0} [OTT 18°9 “ON
Wd “S'f) OS] aas SCC-ECiL WB ZUTT ,,,PozI]IN 9q Ukd SUOT]ONS JOppr] JO Joquinu Aue
‘poyeISN]]I OB SUOTIODS JOppe] 9014) YSNoyj]e,, wy] SOSO]OSIP zuUd’] ‘poopuy “ye J01Id
JOJO JO MOIA Ul JO/puB WR OY) UT [Lys Areurpio Jo uossod v Jo ospoyMouy oy] UO poseq
SNOTAQO U99q SABY P[NOM JUDWIDTO SIY} ‘UOTTISOd PIBMOPIS dy} UI PoyUdLIO si A[quuosse
JOPPL] OY} USYM 199] YG ISO] 1B JO YORI [eJUOZLIOY OY} 0} 9[qIsud}xO sI A[QuIOSSE

JOppe] WY} JO pUd [eISIP dy} UIOJOYM “UOIIES JOppeR] YLINOJ v pue ‘uOT}D9s JOppe] Psy)

B ‘UOINAS JOPPE] PUODAS B ‘UOI19OS JOPPP] ISI B SOPNOUT SUOTIOIS JOppE] d]qISUD]x9O

Jo Ajtyeanyd oy} yey) dsoposIp AWO1]Axo Jou SaOp ZUdT IVY} POUTLULIOJOP SI FI JUd}XO OY} OL

‘uolIsod paeMmoprs
oY} UI PoyUSLIO

si A[quuosse

Joppey] oy} usyM
199J 06 1S¥d] 18

Jo yoRor [B]UOZ1I0Y
OY} 0} d]QISUd}XO

si A]quuosse JOppr]
94} JO pus [BISIP
OY} UIDIOYM “UOTIDOS
Joppe] yynoj &

pue ‘u0T]99s JOppe]
plry} B ‘UOT}OOS
Joppe] puoses ev
‘UOT]90S JOPpR] ISA
B SOPNIOU! SUOT}OOS

‘uorsod preMopls
dU} Ul poUsLo0

st A[quuasse

Joppr] oy} usym
}09J 06 1SB9] 18

JO yoral [e]UOZ1I0Y
dU} 0} 9[QISUd}xO

SI A]QUIOSSB JOppr]
94} JO pus [eISIpP
oY} UIDIOYM “UOT}OS
Joppr] yynoj e

pue ‘uoN]99s JOppe]
pry} B “UOT}DES
Joppr] puosds ve
‘UOI]NOS JOppr] ISA
B SOpnypoul suoT}Ies

 

 

JAY 1OLIg 1243O pur zusT

 

quojed C16,
oY} JO ¢ WIR)

 

yuajed 9¢c,
ay} JO ¢ WIRID

 

MOL-WSI-L1900-A9-8 1:8 “ON 2889 “7) J “OUT ‘AUQ-J “A “Jd Ja “OUT “BY a2da1g

 
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a

 

‘VI-8-6

‘¢ ‘€ ‘[ ‘SBI 1B ZUNT “B'a ‘aag .“SISSRYO,, JO UOIONAJSUOD $ JANOD SY} pue ,.poydnos,,
JO uoronysuod uodn posise ,sored oy} 0) JUeNsInd pue uoTIsod popus}xo AT]Ny oy) UT
UdYM SISSBYD dy} JO SOpIs [e19}e] Sulsoddo wo opn.yoid sio3s_QNo Jo sed oy) UIOIOyM
‘uorjIsod poyoeol & pue UOT}ISOd popud}xo AT]NY B UDOMJOq dIQBOAOW pur SIsseyd

94} 0) poydnod s1o3SLyNO Jo Ted B sopnjoul zuaT] Aq posoposip snyeredde ony ou],

‘uoryisod

popuo}xo AT[Ny

oY} UI Udy sIsseyo
OY} JO SOPs [vI9}R]
suisoddo woy
opnjoid sio38311yno
Jo aed oy} UloloyM
‘uonisod poyor.ol
B pure uorrsod
popuo}xo AT[Ny B
udoM19q dIQBOAOW
puv sIssvyo oy} 0}
pojdnos sios831yn0
jo aed e Suistidwuos
JoyyIny ‘] WIeR]d Jo
snjeredde omy oy

‘uonisod

popuayxo ATpny

oY} UI UOYM sIsseyo
OY] JO SOpIs [vI9}V]
sulsoddo woy
opnyjoid sios31N0
Jo ded oy} UldIDyM
‘uomsod poyoenos
® pue uontsod
popuo}xo AT[ny &
UdIMJ9q [GBOAOU
pu sissvyo oy} 0}
pojdnos siossiyno
jo sed e Sutstidwuos
Joyjiny ‘T weld Jo
snjeredde oy oY

 

JAY 1OLIg 1243O pur zusT

quajed $16,
oq} JO 9 WIR)

juajed 9¢c,
34} JO 9 WHIR[D

 

 

‘snjesedde oily oy} Oy

suoneordde jo asuvs 10}vo1S v OpIAOId 0} SUOT}OOS dIQIPUd}Xd [BUOTIPpe YIM ATQuiosse
Joppr] & SuIplAold Jo y[Nsor a]qeyorpoid oy} pyoIA 0} ZUd'T Jo snyeredde oy Jepiutis

94} SAOIdwT 0) poyuotsyduut oq Avu ‘] uOsIopuy “3'd ‘ye JOLId oy) Jo UOTFROTJIOOds
o[qedIsop UL “YS aay ‘s}[Nsol o]qeyorpoid pyo1d 07 yUOWIOAOIdUTI Joy Apeos (je JOLId
JoyjO JO/pue wR oY} Ul [[Lys Areurpso Jo uosiod B Jo o8po; MOU oy} YIM UOTBUIQUIOD

Ul 10 OUOTR ‘zZUdT JO DoIAOp jie JOLId oy}) SdIADP UMOUY B 0} (J UOSIOpUYy ““3"9

‘ye JOLId OY} JO SUOT|ODS JOPpr] d[qIpUd}X9 oYy}) oNbruys9) UMOUY vB SuTATdde sopnyoul

JI OSNVIOG UOTROTJIPOU STY] OpeU dAvY PyNom [Lys ATeuIpso Jo uosiod v ‘ApIBTIWUIS

 

 

JAY 1OLIg 1243O pur zusT

 

quojed C16,
oY} JO ¢ WIR)

 

yuajed 9¢c,
ay} JO ¢ WIRID

 

MOL-WSI-L1900-A9-8 1:8 “ON 2889 “7) J “OUT ‘AUQ-J “A “Jd Ja “OUT “BY a2da1g

 
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SI

 

‘yIJOuNq prnom
snjeredde ory Joyjoue yey) puejsIopuN p[nom pe oy) UT [[Pys Areurpso Jo uossod ve ABM
OWS dy) Ul ZUNT Jo smviedde ony oy} SACU 0} poyUoWO; duu oq Av UOTeINSIyUOD

g[qe.isop ‘aepnorjied sy yp ‘uonlsod popus}xo AT[Ny 9y} Ul ore sIOsSijNO Jo ed oy}

UdYAM S1OSS1IINO Jo sed oy} YIM poyeloosse sped jovjuOd pooeds Jo ed B SOSO[OSIP ZUI'T
‘AOgR POSSNOSIP SB ‘OdURISUT 107 “(L00TZ) 86E “S'N OSS “UT XAYfajaT “4 ‘OD 1,14] US
‘ABM OLUBS OY} Ul OOIAOP ABTIWIS B SACI 0} onbruYyoo} UMOUY B JO asn B AJOIOUW SI

JI OSNVd9q UOTLOIJIPOW STY) Ope SARY PfNOM I][Pys AreuIpso Jo uosiod v ‘A]]euoNIppy

‘snyeredde oy) ynoge porsanouewl pur popudjxo si ATquuosse

Joppe] oyy uoym Suiddy jusaoid 0} yloddns yusroyyns Surpraoid a[1yM ‘oyqissod

oq JOU pynom peoids 10 dseq JOSSLNO JOPIM & DIOYM soodeds MOU UI o[qeiodo

oq 0) ye Jou J9y}0 Aq polyIpow se zudT Jo snjesedde o1y oy} poyqeus savy pynom os
sulog ‘(Tuy ssoeds-7Ys1}-10J-S}UUd[o-AUPLU-d}e [Nd UeUU-SJOUSISOp-[elloe/Solmjeay/6
-ONSST/¢ [ -OUUN[OA/JUIId/SdponsIe /W0o suIzeseLusNjeleddeony MMM//:Sd}}q)

(SIOYIO Ul JOO] CL] PUB ‘SdOULISUI OWOS Ul 199} QT JO YIPIM WUNWIXeW B YIM
SIOSSIINO SUISO[ISIP) OLOT “1 ‘Ids .‘sooeds WS] 104 syuswoeyq Aueyy syepndiueypy
SIOUBISO [BLOV,, ‘761790009000 ANO-d *881Z9000 ANO-d *r0819000 ANO

“4 04819000 ANO-d :Z0819000 ANO-d :68819000 ANO-d 60819000 ANO

-q ‘snyereddy oi1.j tung oaviseag Ay ‘UO SUIYSE AA “IJ ‘'3'a ‘ag ‘onjeay

SIY} Opnyoul 0} ye JOLId Joyo Aq poyipow se zudy] Aq posojosip snjesedde ony oy}
OSUBLIL O}] UOTUSAUT poso]]e OY} JO OWT] OY} 1B VB OY) UT [[FYs ATBUTPIO JO dUO 0} SNOTAGO
ud0q SABY P[NOM jI ‘UOTTISOd popudyxd AT]NYJ dy} UI s1B SIOSSLIWNO Jo aed oy) UdYM 499]
Q] UY} SJOLU OU JO d0URIsIp B pooeds ole SIOBSIINNO Jo ed oy) YIM poyeloosse sped
jORJUOS JO ATed OY} JY} JUSPIAS ATHIOT]AxXd JOU SI FI IVY) POUTLIOJOP SI JI JUd}XO OY} OL

 

 

"p[-8:6 {¢ “€ ‘| ‘S8Iq Ie ZUO'T ‘'3'a ‘aag ‘uorIsod popus}xo
A][NJ OY} Ul o1v S1OSSIINO Jo red oy] USYM DdURISIP B padeds ore Jey} sIOdSLAQNO Jo Jed
oY) YIM poyeloosse sped jorjuod Jo Jed B sopnjour zuaT Aq posojosip snyeredde ony oy,

‘uonlsod

popuo}xo Aqpny oy}
UI d1B SIOSSIIINO Jo
dred oy} usyM 4994
Q[ uvy} dJOW OU

Jo dourjsIp B pooeds
ole S103831IjNO

Jo sed oy} yy
poyeloosse sped
joR]U09 Jo ed B
UIDIOYM ‘9 WIR] JO
snjeredde omy oy

‘uonisod

popuoyxo AqyNy oy}
UI O1B SIOSSLINO JO
dred oy} Udy 499J
Q] uey} oJOW OU

JO oouKjsIp B pooeds
ore sIOs3LINO

Jo ared oy YM
poyeroosse sped
}0e]U09 Jo sed &
UIOIOYM “9 WIRD JO
snjeredde oy oY

 

 

JAW 1OLIg 19430 pue zua'T

 

quojed C16,
oq} JO / WIe[)

 

yuajed 9¢c,
oy} JO / WIRD

 

MOL-WSI-L1900-A9-8 1:8 “ON 2889 “7) J “OUT ‘AUQ-J “A “Jd Ja “OUT “BY a2da1g

 
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91

 

‘a]qISsod dq JOU P[NOM pedis JO dSeq JOSSIIINO JOPIM B dIOYM Sooeds

MOJIVU UI SUIPNPOUT ‘suOTJENIS JO AJOLIBA JOPIM B Ul d[GQeiodo snjesedde ony eB SurprAoid
JO }[Nso1 s]quyoIpoid oy} pyoIA 0} ZudT Jo snyesedde ony 9y} oAoIdwi 0} poyuoweydut

oq ABU ‘UOTPUDAUT posoy[e OY) JO StU] OY) 1B [[F{S AreuIpso Jo uossad v Jo dspo;Mouy
pue ye 101d oy) JO MOIA UI SNOTAQO puke Aq PdsoTdsIp SI Yor “Suroeds 1983LNO
powleyo sy, “YS aay ‘synsor a]qeyoIpoid paid 0} JUOWIOAOIdLUT JOJ Apeol (1B

JOM JOYIO YIM UOTJUIQUUOD Ul 10 DUO] ‘ZUdT JO SOIAOP je JOLId 9y}) SDIAOP UMOUY

B O} (99URISIP JBfNoIJed v sI9ssLNO Suldeds) onbruyss} uMouy v SurAydde sopnyjour

JI OSNVIOG UOTROTJIPOU STY] OpeU dAvY PyNom [Lys ATeuIpso Jo uosiod v ‘ApIBTIWUIS

 

 

JAW 1OLIg 19430 pue zua'T

 

quojed C16,
94} Jo / Wel)

 

juajed ogc,
ot} Jo 7 Ware)

 

MOL-WSI-L1900-A9-8 1:8 “ON 2889 “7) J “OUT ‘AUQ-J “A “Jd Ja “OUT “BY a2da1g

 
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LI

 

‘QAOgR LIBYO | WIR]D aag

“OYTO
SOSLIdwiod [xe IROI
Q]SuUIs oY) UIDIOYyM

“OYTO
SOsTIdwiod o[xe IROI
Q[SUIs OY) UIOIOyM

 

‘QA0QR WRYD | WIRD aag

‘SISSBYO OY] JO pud
Teal B 0} poydnos
O[XB IkOI O[SUIS B

‘SISSBYO dy} JO pud
Jeol B 0} poydnos
O]xP IvOI O[SUIS B

 

‘QA0QR WRYD | WIRD aag

pue
‘sISSBYO OY} JO pus
UO B 0} poydnos
o]xe JUOI o[SUIS B

pue
‘sISseyo oy} JO pus
UOJ] B 0} poydnos
O[XB JUOI O[SUIS B

 

*SISSBYD

dy} 0} poydnos

SI yey) pus jewurTxoid
B SuIAvYy ATquuosse
JOppr] 9y} ‘suoT}Ias
Joppe] d]qISud}xO
jo Aqryesnyd

:SISSBYO

oy) 07 poydnos

SI Jey} pud jewxoid
B SuIAvY ATquuosse
JOppr] oy) ‘suoT|as
JOppe] o]qIsus}x9
jo Aqtyeanyd

 

B SUIpPNoUl B SUIpnyjoul
‘QA0ge Weyd | WIRD aag A|quuosse Joppry & A]quuosse Joppe] eB
Syury Syury

‘yur} 197eM B pur ‘duund ve ‘osoy oy B “IOppeR] PUNOIS B DAIODOI OF PoINSIyUOS

Jovem ® pur ‘dund e
“‘9SOY DIT B “JOppe]
puUNOIS B DAIDIOI

0} pounslyuod

pure sisseyo

dy} 0) poydnos

Jovem & pue ‘duind ev
‘OSOY OI B “JOPpP]
puUNOIS B DAIOIOI

0} poinsijyuos

pur sisseyo

94} 0) poydnos

 

 

 

 

st zug] Aq posoyosip snjyeredde ony ay) Jo Atquuosse Apog oy] ‘oAOge JIBYO | WIRD aag Ajquiosse Apog B Ay]quiosse Apog &
‘QAOQR WIRY | WIRD aag ‘sISSBYO B 'SISSBYO B
SUISLIGUIOS SUISTIGWOS
‘QAogP YRYd | WIR[D aag ‘snyeredde ony Vv ‘snyeredde oy VW
yuajed 616, juajed 9¢¢,

JAW 1OLIg 19430 pue zua'T

 

94} JO TT UBD

 

oy} JO TT Wel)

 

MOL-WSI-L1900-A9-8 1:8 “ON 2889 “7) J “OUT ‘AUQ-J “A “Jd Ja “OUT “BY a2da1g

 
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81

 

‘QAOQR WRYD | WIRD aag

pomnBiyuoo si yuey
Id}WM OY} UIDIOYM

 

pue

‘spunod g¢/ seo] 18
jo peo] dy ve yoddns
0} pounslyuod

‘spunod g¢/ seo] 38
jo peoy dy e yroddns
0} poinsijyuos

 

st A]quuosse si A[quuosse
‘OAR WeYyd | WIRID aag | Joppry] oy} uloJoyM | JOppe] oy} UIOIOyM
“109 199]

06 1SB9] 1B JO YoRaI
[ejuoziioy e spraoid
0} O[QISUd}xO

06 1SB9] 18 JO Yoo.
[ejuozioy eB opraoid
0} d[QISUd}X9

 

si A[quuosse st A[quuasse

‘OAOQE LBYO | WIe]D aag | Joppey] oy) uloJoyM | JOppeR] oy} UTOIOyM
‘[PNUSIOTJIP TENUdIOTIP

B JO SOpIs B JO SOpIs

[e19}e| Sursoddo
wo SuIpus}xo
o[xB puoses

OY} pure O]Xv ISAT
oun “jurof AyIOO]OA
JURJSUOD PUOdES B
SUTARY 9]XB PUODS
B pue yurof AYIOOTOA
JULISUOD JS.

B SUIALY O]XP SIL B
JO

“SISSBYO OY] SSOINB
Ajyesoye] Surpuayxo

[e19}e]| Sursoddo
wojj SuIpuayx9
o]xB puoses

oY} puv o[xe ISI
ayy “quIol A}IDO]OA
JUL}SUOD PUODOS B
SUIARY O[XB PUuOdaS
B pur quIOol AWIOO]OA
JUR}SUOD SAL

B SUIARY O]XB ISI &
JO

“SISSBYD OY] SSOIOB
Ajje.19je] SUIPUd} XO

 

 

JAW 1OLIg 19430 pue zua'T

 

uoneinsiyuos uoleinsiyuos
O]XP PI[OS o[SuIs B Q[XB PI[OS o[SuUIS B
yuajed 616, juajed 9¢¢,

94} JO TT UBD

 

oy} JO TT Wel)

 

MOL-WSI-L1900-A9-8 1:8 “ON 2889 “7) J “OUT ‘AUQ-J “A “Jd Ja “OUT “BY a2da1g

 
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61

 

‘QA0gR LeYyd | WIR[D aag

‘JO9J 06 ISBO] 18

JO yoRol [eyUOZIIOY
ay} 0} popus}xo
A]quuasse Joppe] oy}
yy peoy dy oui Aq
poyeioues yUOWIOU
B JOUR] eQIO}UNOD

0} pouorisod

ore yur} 19]eM

oy) pue ‘duind oy}
‘A]quuosse Apog ou}
‘sISSBYO OY} JO NU
}SBO] 1B JO APIARIS JO
19]U99 dy) UIOJOYyM.

"JOO 06 ISBd] 18

JO yoRal [eUOZIIOY
oY} 0} popus}xo
A]quuosse JOppe] oy}
yim peor dy oy Aq
poywiouss JUSWIOW
B oOuUReqJa}UNOD

0} pouorisod

o1e YUP] IO]BM

oy} pure ‘duind oy
‘Ajquuosse Apog 9y}
‘SISSBYO OY} JO OU
1SB9] 1B JO APIARIS JO
J9]U99 OY} UIDIOYyM

 

pur “10jeM

JO suo]]es 0OS
JSB9] 12 uleyuoa O}

 

 

JAW 1OLIg 19430 pue zua'T

 

quojed C16,
oY} JO [] Wel)

 

juajed ogc,
OU} JO T] Wel)

 

MOL-WSI-L1900-A9-8 1:8 “ON 2889 “7) J “OUT ‘AUQ-J “A “Jd Ja “OUT “BY a2da1g

 
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0C

 

‘QAOQR LIBYO € WIR]D aag

SI YORos [B]UOZLIOY
oy) UlOIOyM
*‘SUOT}B]USLIO
sulyesodo

jo Aytyernyd ve

ojUI d]qvuontsodoal
AJDAI99OS

st A]quuosse

JOppey] oy} yeyy
yons [e}sopod oy}
0} A]quuosse JOppr]
oy} JO pus jewrxoid
oy) suljdnos
Ajqeyejo1 9]qe]UIN}
e Suistidwuos
Joyyany *Z] Wire] Jo
snyeredde ony ou],

SI YORdl [e]UOZLIOY
oy) UIOIOyM
“suOT}BUITIO
surjeiodo

jo Ajyeanyd ev

ojUI s,qevuorisodo1
AJOAIIOIOS

si A[quuosse

JOppe] oY} weyy

yons Je}sopod oy}

0} A]quudsse Joppry]
oy) JO pud jeurxoid
ou) suljdnos
A]qeyejol o[qeyu.iny
B Sulsiidu0s
Joyyiny ‘7 wTeyo Jo
snjyeledde ony oy],

 

quojed C16,

yuajed 9¢¢,

 

 

 

 

WY 10M 194jO pue ZuaT oy} JO CT We) aU} JO Ey] Wel)
“9]8}01 “978101
0} pounslyuod 0} poinsijyuos
st Ajquuosse Joppey | st A[quuosse Joppe]
oy) YoTy jnoge oY} YOTYyM jnoge
sIxe ue SUIUTJOp SsIxe uv SUIUTJOp
pue sIsseyo oy} 07 pur sisseyo oy} 07
A]quuosse Joppey] oui | ATquuosse Joppery] oy)
sul[dnood jeysopod suljdnos [eysopod
B SuIslidwos B Sulslidwos
Joyyiny ‘[] WIe]o Jo | sJoyVINy ‘| | WTeIO Jo
‘OA0gR Wey Z WIR] aag | snjyeieddeomj oyf | = smjeredde ony oy

yuajed 616, juajed 9¢¢,
JAY 101g 194jO PUB ZU9'T oy} JO TT IBID 94) JO TT Ue)

 

 

 

MOL-WSI-L1900-A9-8 1:8 “ON 2889 “7) J “OUT ‘AUQ-J “A “Jd Ja “OUT “BY a2da1g

 
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Ic

 

‘QAOQR LIBYO p WIRD aag

JOppe] OY} YOrYM Ul
uonIsod pieMopIs

® pure ‘Ajquiosse
qed oy} wo Ave
spus}xo Ajquuosse
JOppe] oy} YoryM

UI UOTISOd preMIVOI
eB ‘A[quuosse qed

OY} JOAO spud}xo
A]quuosse Joppe] oy}
YoTyAA ul uoTIsod
plVMIOJ B SOpNyoUl
suOT]eIUSLIO
suljeiodo

jo Ayyeanyd ouyy
UISIOYM “SISSBYO 9Y}
JO pud juoI OY} OF
pojdnos Ajquuosse
qed v Sulsiidu0s
Joyyny “¢] WTR Jo
snyeredde ony ou],

JOPPR] 94) YOIYA\ Ul
uorjisod pieMmoprs

B pus ‘A]quuosse
qed oy) wo Aeme
spuo}xo Ajquuosse
JOPPe] 94) YOTYM

Ul UOTISOd preMIROI
eB ‘A[quuosse qeo

94} JOAO spud}xo
A]quuosse Joppey ou}
YOIyAA ul uoTIsod
pseMIOJ B SOpNyoul
SUOT]EUSIIO
suljeiodo

jo Aytyernyd oy}
UIDIDYM “SISseYyo dy}
JO pud JUOIJ OY} 07
pojdnoo A;quuiosse
qro B Sulsiidu0s
Joy “¢] Wed Jo
snjyeledde ony oy],

 

quajyed S16,

juajed 9¢¢,

 

 

 

 

WY AOL 194jO pue Zus'T 9} JO py Wel) aU} JO py Urey)
“A[quuosse ‘A[quuasse
Joppe] dy} JO pus Joppe] oy} JO pus
[eISIpP B pure 9]R}01 [eISIp B pue deI0I
0} pounsyUuod SI 0} poinsTyUod SI
A]quuasse Joppe] oy} | Ajquuosse Joppey] oy}
YOTYA jNoge sixe YoryM jnoge sixe
oy} USdMIOg POUTJop | dy} Ud9MIOq pouTjap

yuajed 616, juajed 9¢¢,
JV AOL 194jO pue Zu9'T 94} JO CT WUBI) a4} JO Ey] Ue)

 

 

 

MOL-WSI-L1900-A9-8 1:8 “ON 2889 “7) J “OUT ‘AUQ-J “A “Jd Ja “OUT “BY a2da1g

 
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cc

 

‘uonlsod preMopis
oY} Ul poyUSTIO

st A]quuosse

Joppry] oy} uoyM
109] 06 1SBd] 1v

JO YoRol [e]UOZLIOY
OY} 0} S[GISUD} x9

si A]quuosse JOppr]
94} JO pus [BIsIp
oY} UIOIOYM “WOT99S
JOppr] yynoj v

pue ‘u0T]99s JOppe]
pry) B “worsos
Joppe] puosds v
‘UON99S JOPPV] ISAT
B SOPNJOUI SUOTIOOS
JOppe] o[qisuoyxo

“uorIsod preMopis
oY} UI poyUs1IO

si A[quuosse

Joppey] oy) usyM
109J 06 1SB9] 18

JO YoRol [e]UOZLIOY
IY} 0} S[GISUD} xO

SI A]QUIOSSB JOppr]
94} JO pus [BIsIp
OY} UIOIOYM “UOTID0S
JOppery] ynoj ev

pue ‘uoN]99s JOppe]
par} eB ‘uoT}DO8
JOppe] puoses B
‘UOI]N9S JOPPR] ISAT
B SOpnypoul suoT}Ies
JOppe] d[QIsud} xo

 

 

 

 

 

jo Aqryesnyd jo Aqtyeanyd
oY} UIOJOyM oY} UTOIOyM
‘p[ WIeIO Jo “pl WIBIO JO
‘daoge Weyd ¢ WIR]D aag | = snyeredde ony oy, | = snperedde ony oy,
yuajed $16, juajed 9¢¢,
WY 10M 194jO pue ZuaT 9} JO CT Wel) aU} JO ST Wel)
“SISSBYO IY} JO ‘SISSBYD OY} JO
OpIs [e1o}e] B WO] | = OpIs yesO}V] Be WO
spud}xo A]quuosse spud}xo A]quiosse
yuajed 616, juajed 9¢¢,
JAY 101g 194jO PUB ZU9'T 94} JO pl WB) 94) JO py Ue)

 

 

 

MOL-WSI-L1900-A9-8 1:8 “ON 2889 “7) J “OUT ‘AUQ-J “A “Jd Ja “OUT “BY a2da1g

 
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eT

 

dU} Ul O1e S10831IjNO
jo ured oy}

UdYM 199} QT UPY}
O1OUU OU JO S0URISIP
B pooeds ale
SIOSSIINO Jo ITed
oY} YIM poyeroosse
sped jorju09

jo died e uloroym

OY} Ul O1e SJOS31IINO
jo sed oy}

UdYM JO9J QT UL]
OJOLU OU JO SOURISIP
B pooeds ale
sioSs1no jo sed
OU} YIM poyeroosse
sped jorju09

jo aed & uloIOyM

 

 

 

 

 

‘Q[ WIRD JO “Q| WIEID JO

‘OA0gR WeRYyd / WIe]D aag | snyeiedde omy out | smesedde ony oy
quazed S16, juajed 9¢¢,

JAY 10d 194jO pue ZuI'T oy} JO LT Ware 94) JO LT wel)

‘uoryisod ‘uoryIsod

popusyxo AT[ny popuayxo ATpny

oY} Ul UY sIsseyd | SY} Ul Udy SIsseyo

OY} JO SOPIS [BIO}V] | 9} JO SOPIS [eIOL]

suisoddo woy sulsoddo woy

opnyjoid siossiyno | opnjojd sios3iyno

jo aed oy} UloroyM | Jo Jed oy} UloJoymM

‘uorpisod poyoejo1 | = ‘uonsod poyornos

B pue uonIsod ® pue uontsod

popuo}xo AT[Ny B popuo}xo AT[ny &

UdIMIOq IIQBOAOW | UddMJOq O[GROAOLU

puv sIssvyo oy} 0} pu sissvyo oy} 0}

pojdnos siossiqno | pojdnos sio8s1yNn0

jo aed ev Suistidwoo | Jo ued e Sutstidwuos

Joyyiny ‘[] WIe]o Jo | sJoyVINy ‘| | WTeIO Jo

‘OAOgR WRYd 9 WIeRID aag | snyeiedde omy out | smjeredde ony oy
yuajed 616, juajed 9¢¢,

JAY AOL 194jO Pue ZuI'T 94} JO OT WB) 94} JO OT UR)

 

 

 

MOL-WSI-L1900-A9-8 1:8 “ON 2889 “7) J “OUT ‘AUQ-J “A “Jd Ja “OUT “BY a2da1g

 
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vc

 

‘QAOgR LIBYO | WIR]D aag

06 ISB9] JB JO YORI [eIUOZIIOY B OPIAOId 0}
Q]QISUd}XO SI A]QUUOSse JOppe] OY} UIDIOyM

 

‘QAOgR LIBYO | WIR]D aag

{[ENUSIDJJIP B JO SOPIS [.19IF]

sulsoddo wos SUIPUd}Xd O]XB PUOdIS dU]
pue o]xe ys Oy} “WUIOf A}IDO]OA JURISUOD
puodes B SUIARY O[Xe puodds B puke juIOl
AJOOJOA JULISUOD ISI B BUIABY [XB ISAL
B IO ‘SISsBYyd OY} SsOIOR AT[BIO}e] SUIPUd} XO
UONBANSIJUOD 9][XB PI[OS OISUIS B :19YIIO
SOSLIAWIOD O[XB IOI O[BUIS OY} UIDIOYM

 

‘QA0gR LeYyd | WIR[D aag

‘sIssByo oy}
JO pud 1vd1 B 0} po[dnods o] xe Ivo OISUIS B

 

‘QAOgR LIBYO | WIR]D aag

pur ‘sIsseyd oy} Jo
pus uo B 0} poydnod o]xe UO s[suIS B

 

‘QA0gR LeYyd | WIR[D aag

‘SISSBYD dy} 0} poydnos

SI yey} pus jeuurxoid ve SulAvy A[quuasse
JOPpe] OY} ‘SUOTIDES JOPpK] d[qISUD}xX9

jo Apyernyd ev Surpnyjour A[quiosse Joppey e

 

‘QAOQgR LABYO | WIR]D aag

‘SISSBYO OY} 0} poydnoo yur} eM B

 

‘QAOQgR LABYO | WIR]D aag

‘SISSBYD OY} 0} poydnoo dund ve

 

‘QAOgR LIBYO | WIR]D aag

‘OSOY OJ B PUL JOPPe] PUNOIS B OAIOIOI
0} poINSIJUOS Bo IsvIO}S B SUIARY pu
SISSBYd OY} 0} poydnos Ajquuasse Apog vB

 

‘QAOQgR LABYO | WIR]D aag

‘sISSByo B

 

‘QA0gR LeYyd | WIR[D aag

“SUISTIGUUOD
‘snqjesedde oily uolesnsiyuos yurnb y

 

 

 

 

 

WY 10M 194jO pue Zu9T juayed 9¢c, 2U} JO OZ WIRD
‘uonisod ‘uonisod
popusyxe Any popus}xo ATny
yuajed 616, juajed 9¢¢,
JAY 101g 194jO PUB ZU9'T oy} JO LT WreID 94} JO LT Wel)

 

 

 

MOL-WSI-L1900-A9-8 1:8 “ON 2889 “7) J “OUT ‘AUQ-J “A “Jd Ja “OUT “BY a2da1g

 
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ST

 

‘QA0gR LeYyd | WIR[D aag

‘P2J 06

JSBO] 1B JO YORI [BJUOZLIOY dy} 0} popud}xo
A]quiosse J9ppe] oy} YIM peo dry oy

Aq poyesouos JUOWIOW B DOUBT eGIN}UN0S

0} pouorpisod ore yur} 19}eM oy) pure ‘dwind
oy) ‘Ajquuosse Apog oy} ‘sIsseyd oy} JO OU
JSB9] 1B JO AJIARIS JO JOJUDO OY] UIOIOYM

 

‘QA0gR LeYyd | WIR[D aag

pure ‘spunod
OSL Ise9] 1e JO peo] dy ev yoddns 0}
poinsiyuos st A[Quuosse Joppe] oy} UIOIOyM

 

*1O9J
66 ISO] 1B JO JYSIOY [CILIA & Pure 199}

 

 

JAY JOLIg 10430 pure zuaT

 

juajed g¢¢, 24) Jo QZ WIELD

 

MOL-WSI-L1900-A9-8 1:8 “ON 2889 “7) J “OUT ‘AUQ-J “A “Jd Ja “OUT “BY a2da1g

 
